       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Michael Dwayne Ferguson
       v. Commonwealth of Virginia
       Record No. 0060-19-3
       Opinion rendered by Judge Beales on
        February 25, 2020

    2. Antonio Jones
       v. Commonwealth of Virginia
       Record No. 1929-18-3
       Opinion rendered by Chief Judge Decker on
        March 10, 2020

    3. Justin Leon Walker
        v. Commonwealth of Virginia
        Record No. 1945-18-1
        Opinion rendered by Judge Russell on
        March 24, 2020

    4. Melanie Vandyke
       v. Commonwealth of Virginia
       Record No. 1322-18-2
       Opinion rendered by Chief Judge Decker on
        March 31, 2020

    5. Robert Meredith Otey, Jr.
       v. Commonwealth of Virginia
       Record No. 0556-19-2
       Opinion rendered by Judge AtLee on
        April 7, 2020

    6. Natalie Marie Keepers
       v. Commonwealth of Virginia
       Record No. 0279-19-3
       Opinion rendered by Judge O’Brien on
        April 14, 2020
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Loudoun County
   v. Michael Richardson
   Record No. 1533-18-4
   Opinion rendered by Judge O’Brien
    on April 16, 2019
   Judgment of Court of Appeals affirmed by opinion rendered on May 7, 2020
   (190621)

2. Andre Washington
   v. Caroline County Department of Social Services
   Record No. 0870-19-2
   Opinion rendered by Judge Malveaux
    on December 10, 2019
   Refused (200023)
